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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                           Criminal No.: 1: 22-cr-00354-RCL-1
                                           and 2
  UNITED STATES OF AMERICA,
                   -v-
                                              DEFENDANTS MOTION IN
    RICHARD SLAUGHTER, and
                                             LIMINE TO PRECLUDE ALL
        CADEN GOTTFRIED,                       DISCUSSION OF SIGNS,
                      Defendants.                 BARRICADES OR
                                            ANNOUNCEMENTS NOT SEEN
                                            BY DEFENDANTS as well as ALL
                                             DISCUSSION OF BAD ACTS,
                                            CRIMES OR GUILT BY PEOPLE
                                             OTHER THAN DEFENDANTS


DEFENDANT’S MOTION IN LIMINE TO PRECLUDE ALL DISCUSSION
   OF SIGNS, BARRICADES OR ANNOUNCEMENT NOT SEEN BY
DEFENDANTS as well as ALL DISCUSSION OF BAD ACTS, CRIMES OR
         GUILT BY PEOPLE OTHER THAN DEFENDANTS
COMES NOW, the Defendants Slaughter and Gottfried, by and through his

counsel of record John Pierce, with this motion in limine to preclude from trial any

evidence, discussion, or argument regarding signs, fencing, dispersal

announcements, barricades or other barriers unless the offering party first lays a

foundation that Defendants Slaughter and Gottfried actually was in a place to

clearly and obviously witness such features.
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       Defendants Slaughter and Gottfried also request an order precluding the

prosecution from offering any evidence, testimony or discussion that others may

have committed bad acts or crimes as a way to impose guilt on Defendants

Slaughter and Gottfried by association.

Background.
       Defendants Slaughter and Gottfried are charged with several criminal

offenses which require the United States to prove that Defendants Slaughter and

Gottfried knew they were in an unauthorized area or areas. At trial, Defendants

Slaughter and Gottfried will contest these assertions. Defendants Slaughter and

Gottfried freely walked onto the U.S. Capitol grounds on January 6 at a time when

there were no signs, warnings, announcements, or police officer resistance.

       Under Rules 401 and 403, the government must be precluded from

introducing evidence, discussion, or argument of any signs, plaques, notices, “No

Trespassing” markings, dispersal announcements, barriers, fences or barricades

which Defendants Slaughter and Gottfried could not have seen or heard themselves

at their location(s).

The government must not use guilt by association to try to convict Defendants

Slaughter and Gottfried. Observing disorderly conduct by others is not

disorderly conduct. Observing picketing or parading by others is not picketing or

parading by Defendants Slaughter and Gottfried. Defendants Slaughter and
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Gottfried are entitled to a trial in which the government must meet a burden of

showing Defendants Slaughter and Gottfried themselves committed disorderly

conduct, picketed and paraded, or entered knowingly without authorization.

      Under Rules 401 and 403, Defendants Slaughter and Gottfried seek an order

precluding prosecutors or prosecution witnesses from arguing or suggesting

Defendants Slaughter and Gottfried are guilty of any crime(s) due to the criminal

conduct of others. Such evidence or argument is irrelevant, confusing, and

misleading.

Dated: October 06, 2023
                                                           Respectfully Submitted,
                                                                 /s/ John M. Pierce
                                                                    John M. Pierce
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                                                           Attorney for Defendants
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CERTIFICATE OF SERVICE


I, John M. Pierce, hereby certify that on this day, October 6, 2023, I caused a copy
of the foregoing document to be served on all counsel through the Court’s
CM/ECF case filing system.


/s/ John M. Pierce
John M. Pierce
